Case 1:24-cv-00648-AA   Document 27-2   Filed 07/15/24   Page 1 of 2




                        EXHIBIT 02
                    Re: Update on response to respondent's reply and phone conference about communication with children   EXHIBIT 02
                Case 1:24-cv-00648-AA                 Document 27-2             Filed 07/15/24          Page 2 of 2
         Subject: Re: Update on response to respondent's reply and phone conference about
         communication with children
         From: Arnaud Paris <arnaud@skyvr.com>
         Date: 04/07/2024, 20: 58
         To: Katrina Seipel <KAS@buckley-law.com>
         CC: Katelyn Skinner <kds@buckley-law.com>, Wendy Goodyear <wag@buckley-law.com>

         Miss Seipel, I would like to speak with you urgently regarding the abduction that Miss Brown
         committed and I would like you to explain how Miss Brown took Eva and Juliette outside of
         France in violation of two French judgments including one forbidding Miss Brown to exit France
         or Europe with our children that Miss Brown told in person she would never dare violate to the
         presiding judge of the appeal court of Paris just a few days before.
         Please provide me with the detailed itinerary she took to leave France and which exit point of
         the European border controls she used and at what exact time of passage.
         Please provide me with the documents she used to exit Europe.
         I would like to know your involvement and the involvement of your law firm in the preparation
         of this abduction since last August.
         I would like to talk also with you about the parental alienation undergoing since Miss Brown
         abducted our children from France and the fact that neither me nor my family could do a single
         video call for the last three months with Eva and Juliette.
         I would be available tomorrow July 5th at 10.30am, 2pm or 3pm PST but please provide me with
         the requested documents above before this conferral are they are crucial to this conferral.
         Regards,
         Arnaud Paris
         On 04/07/2024 04:20, Katrina Seipel wrote:
          Mr. Paris--

          I have an obligation to attempt conferral with you regarding our motion to dismiss. Please
          let me kno,1 if there is a day/time you are willing to speak with me on this matter.
          Thank you,
          Katrina Seipel
          Attorney at Law, Associate



          t 503.620.8900 I f 503.620.4878
          5300 Meadows Road, Suite 200 I Lake Oswego, OR 97035
          KAS@buckley-law.com
          httQ..;.LLwww.buckley law.coml


          Buckley Law emphasizes Business, Employment, Estate Planning, Family, Litigation & Real
          Estate Law
          This e-mail message, including any attachments, may contain attorney privileged and/or
          confidential information. The review, disclosure, distribution, or copying of this message
          by or to anyone other than the named addressee(s) is strictly prohibited. If you have
          received this message in error, please immediately notify me by reply e-mail and destroy the
          original and all copies of lthe message.                                        I
          -----Original Message-----
          From: Arnaud Paris <a rnaud@.s.k.Y.vr.com>
          Sent: Wednesday, July 3, 2024 12:17 PM
          To: Katrina Seipel <KAS@buckleylaw.com>
          Cc: Katelyn Skinner <kds@buckleylaw.com>; Wendy Goodyear <wag@buckley-law.com>

I of 6                                            EXHIBIT 02 - PAGE 01 OF 01                                              15/07/2024, 13:29
